   1   Russell Brown
       CHAPTER 13 TRUSTEE
   2
       Suite 800
   3   3838 North Central Avenue
       Phoenix, Arizona 85012-1965
   4   602.277.8996
   5                              UNITED STATES BANKRUPTCY COURT
   6
                                              DISTRICT OF ARIZONA
   7
        In re                                              Chapter 13
   8
        CHINA ELIZABETH ALLEN,                             Case No. 2-20-bk-04513-EPB
   9
                                               Debtors. TRUSTEE’S INITIAL
  10
                                                        RECOMMENDATION
  11
                                                           Deadline: February 5, 2021
  12
                The Trustee has reviewed the Second Amended Chapter 13 Plan filed November 6, 2020.
  13
  14   The Trustee notes the following problems, which must be resolved before the Trustee can file a

  15   comprehensive Recommendation:
  16
                (1) The Debtor is currently $10,335.00 in default with plan payments with an additional
  17
       payment of $2,615.00 due on January 30, 2021.
  18
                (2) If Debtor brings the plan payments current and pays $12,950.00, the Trustee will file
  19
  20   a supplemental Recommendation.

  21       SUMMARY: Pursuant to Local Rule 2084-10(b), by February 5, 2021, Debtor is to cure
  22   the plan payment default of $12,950.00, or the Trustee could file a notice of intent to lodge a
  23
       dismissal order.
  24                                                                            Russell Brown
                                                                                2021.01.06 15:52:48
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Case 2:20-bk-04513-EPB         Doc 36     Filed 01/06/21     Entered 01/06/21 16:09:26        Desc
                                           Page 1 of 2
   1   Copy mailed or emailed to:
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       CHINA ELIZABETH ALLEN
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       PHOENIX, AZ 85032
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   6   MEYER LAW, P.C.
       1425 W. ELLIOT RD., #105
   7   GILBERT, AZ 85233-5129
       help@arizonabankruptcyhelp.com
   8
   9
  10     Dawn                Digitally signed by
                             Dawn Smith

  11     Smith               Date: 2021.01.06
                             16:15:08 -07'00'

  12   ______________________________
       Dawn M. Smith - Case Analyst
  13   dsmith@ch13bk.com

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Case 2:20-bk-04513-EPB       Doc 36     Filed 01/06/21   Entered 01/06/21 16:09:26   Desc
                                         Page 2 of 2
